
705 So.2d 1085 (1998)
Edward SPUNIZO and wife, Norma Spunizo
v.
CHARITY HOSPITAL IN NEW ORLEANS.
No. 97-CC-2668.
Supreme Court of Louisiana.
January 9, 1998.
Rehearing Denied February 20, 1998.
Granted. Pretermitting the issue of whether other provisions of the medical malpractice act apply to plaintiffs' action, the medical review panel provisions clearly apply as of the time of the filing of the claim. Accordingly, the judgment of the court of appeal is vacated and set aside, and the judgment of the trial court maintaining relator's exception of prematurity is reinstated.
CALOGERO, C.J., would deny the writ.
VICTORY, J., not on panel.
